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                                                          Exhibit B – Discovery Documents


Document            Exhibit Description                             Author               Date        Authentication   Authentication Category
                                                                                                     Source
Flynn Second        237-1     Handwritten Notes                     DAG Dana Boente      3/30/2017   FBI              True and correct copy of a document
Supplement to MTD                                                                                                     or record maintained by the FBI
(237)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy
Flynn Third         248-2     Handwritten Notes                     DD Andrew McCabe     Undated     FBI              True and correct copy of a document
Supplement to MTD   (259-1)                                                                                           or record maintained by the FBI
(248)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy (ECF 259-1 version)
Flynn Third         248-3     Handwritten Notes                     DAD Peter Strzok     Undated     FBI              True and correct copy of a document
Supplement to MTD   (259-2)                                                              (likely                      or record maintained by the FBI
(248)                                                                                    1/5/2017)                    pursuant to the applicable records
                                                                                                                      retention policy (ECF 259-2 version)
Flynn Third         248-4     Handwritten Notes                     DAD Peter Strzok     Undated     FBI              True and correct copy of a document
Supplement to MTD   (259-3)                                                                                           or record maintained by the FBI
(248)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy (ECF 259-3 version)
Flynn Fourth        251-1     Handwritten Notes (Bates No. 23558- ADAG James             3/6/2017    FBI              True and correct copy of a document
Supplement to MTD             59)                                 Crowell                                             or record maintained by the FBI
(251)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy
Flynn Fourth        251-1     Handwritten Notes (Bates No. 23560-   ADAG Tashina         3/29/2017   FBI              True and correct copy of a document
Supplement to MTD             61)                                   Gauhar                                            or record maintained by the FBI
(251)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy
Flynn Fourth        251-1     Handwritten Notes (Bates No. 23562)   ADAG Scott Schools   1/19/2018   FBI              True and correct copy of a document
Supplement to MTD                                                                                                     or record maintained by the FBI
(251)                                                                                                                 pursuant to the applicable records
                                                                                                                      retention policy



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                                                          Exhibit B – Discovery Documents


Document            Exhibit Description                           Author             Date         Authentication   Authentication Category
                                                                                                  Source
Flynn Fifth         257-1   Email regarding National Security     Kevin Clinesmith   12/26/2016   FBI              True and correct copies of documents
Supplement to MTD           Letters                               (OGC)                                            or records maintained by the FBI
(257)                                                                                                              pursuant to the applicable records
                                                                                                                   retention policy
Flynn Fifth         257-2   Summary Substitution of NSLs issued   AUSA Jocelyn       09/24/2020   FBI              Truly and correctly summarizes the
Supplement to MTD           in Crossfire Razor                    Ballantine                                       underlying classified information
(257)                                                                                                              provided by the FBI and maintained
                                                                                                                   by the FBI pursuant to the applicable
                                                                                                                   records retention policy
Flynn Fifth (sic)   264-1   Handwritten Notes                                (OGC)   1/25/2017    FBI              True and correct copy of a document
Supplement to MTD                                                                                                  or record maintained by the FBI
(264)                                                                                                              pursuant to the applicable records
                                                                                                                   retention policy




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